

Grimes v Figueroa (2025 NY Slip Op 02763)





Grimes v Figueroa


2025 NY Slip Op 02763


Decided on May 7, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 7, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

HECTOR D. LASALLE, P.J.
WILLIAM G. FORD
HELEN VOUTSINAS
DONNA-MARIE E. GOLIA, JJ.


2023-03061
 (Index No. 604198/20)

[*1]Natasha Grimes, etc., appellant, 
vReinaldo Figueroa, etc., respondent, et al., defendants.


The Fitzgerald Law Firm, P.C., Yonkers, NY (John M. Daly and James P. Fitzgerald of counsel), for appellant.
Rubin Paterniti Gonzalez Rizzo Kaufman LLP, New York, NY (Jonathan Waldauer of counsel), for respondent.



DECISION &amp; ORDER
In an action, inter alia, to recover damages for medical malpractice, the plaintiff appeals from an order of the Supreme Court, Suffolk County (Linda Kevins, J.), dated February 8, 2023. The order, insofar as appealed from, denied that branch of the plaintiff's motion which was for leave to renew her opposition to the motion of the defendant Reinaldo Figueroa pursuant to CPLR 3211(a)(8) to dismiss the complaint insofar as asserted against him for lack of personal jurisdiction, which had been granted in an order of the same court dated December 6, 2021.
ORDERED that the appeal is dismissed as academic, without costs or disbursements.
The appeal must be dismissed as academic in light of our determination on a related appeal (see Grimes v Figueroa, ___ AD3d ___ [Appellate Division Docket No. 2021-09347; decided herewith]).
LASALLE, P.J., FORD, VOUTSINAS and GOLIA, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








